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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF GEORGIA
                                        AUGUSTA DIVISION

                                                *
UNITED STATES OF AMERICA,
                                                *



        v.                                      *                   CR 109-035
                                                *


                                                *
HENRY MICKLEONARD MCGEE,



                                           ORDER




        Presently pending before the Court is Defendant's                         motion for

relief       from judgment pursuant          to Federal      Rule     of Civil Procedure

60(b)(1).       (Doc. no.       179.)     Defendant seeks relief from this Court's

March 27,       2014 Order denying Defendant's 28 U.S.C.                   § 2255 petition

because       the    Order    did   not    address     Defendant's     objections    to   the

Magistrate Judge's Report and Recommendation.                       (Id. at 1.)     However,

on April 3, 2014, the Court, out of an abundance of caution, entered

an Order vacating the March 27, 2014 Order and addressing Defendant's

untimely objections.            The Court held:

        None    of    Petitioner's        objections     provide     any   reason    to
        depart from the conclusions in the R&R.    As a result,
        Petitioner's objections are OVERRULED.  Accordingly, the
        R&R of the Magistrate Judge is ADOPTED as the opinion of
        the Court.         Therefore,     Petitioner's § 2255 motion is DENIED
        without an evidentiary hearing.

(Doc.    no.    177    at 2.)       (emphasis       in original).      Because     the Court

conducted       a     de     novo   review    and     considered     Defendant's     written

objections, Defendant's motion (doc. no. 179) is DENIED AS MOOT.

        ORDER ENTERED at Augusta,               Georgia,    this cz^J-     day of August,

2014.



                                                      HONORABLEJ
                                                      UNITEe/ STATES DISTRICT JUDGE
                                                           ffiRN DISTRICT OF GEORGIA
